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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ARTHUR L. LEWIS, JR., et al.,                 *
                Plaintiffs,                   *       Case No. 1:98-cv-5596
                                              *
               v.                             *       Judge: Hon. Joan B. Gottschall
                                              *
CITY OF CHICAGO,                              *
                       Defendant.             *
                                              *
                                              *
****************************************************************************************************
                        MOTION TO SUBSTITUTE CLASS COUNSEL

NOW COMES, Darrell Payne, on his behalf and, with other members of the Shortfall Group

of the Lewis Class of Plaintiffs in the above-captioned matter, and file this Motion to

Substitute Class Counsel. In support of this motion, Movants attest as follows:


I.      INTRODUCTION AND PROCEDURAL BACKGROUND

        This Court's September 30, 2024, Memorandum and Order denied without prejudice

the motion to enforce judgment filed in November 2023, specifically directing that "any

attorney wishing to be appointed or substituted as class counsel must file an appropriate

motion under Rule 23(g)." The Court noted that "prior class counsel did not sign the

pending motion to enforce or the reply brief, and nothing in the record suggests that class

counsel approved the instant motion or participated in preparing it." Because the Court has

retained jurisdiction over this case "for purposes of construction, implementation and

enforcement of the terms of [the injunctive] Order," the present motion seeks to properly

address the procedural deficiency identified by the Court.

        The movants are members of the "shortfall group" – the 117 members of the Lewis

class who were hired by the Chicago Fire Department pursuant to the injunctive order
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entered in this case on August 17, 2011. These class members seek redress for alleged

unforeseen consequences of the injunctive order's seniority provisions that have

systematically disadvantaged them in promotion opportunities since their hiring in 2012.

II.       ORIGINAL CLASS COUNSEL HAS DECLINED TO PURSUE RELIEF FOR THE
          SHORTFALL GROUP

          Prior to filing the initial motion to enforce in November 2023, members of the shortfall

group attempted to engage original class counsel to address their concerns regarding

promotion opportunities. These efforts are well-documented and demonstrate original class

counsel's unwillingness to represent the shortfall group on these specific issues:

      ● On February 28, 2019, shortfall group member Rodney Shelton contacted Attorneys

         Josh Karsh and Matthew Piers of Hughes, Socol, Piers, Resnick, and Dym via email

         regarding the application of retroactive seniority to promotional opportunities. See

         Exhibit A.

      ● On March 4, 2019, Attorney Matthew Piers responded: "We are not in a position to

         provide you with assistance in this matter, and if you wish to pursue it, you should

         retain other counsel." Id.

      ● Multiple shortfall group members, including Rodney Shelton, Patrick McCollum,

         Angela Horton, Tamala Watkins, Melissa Jo Chval, and Darrell Payne, have submitted

         declarations confirming their awareness of prior counsel's refusal to assist with these

         promotion-related issues. See Exhibit A-F.

      More recently, on February 11, 2025, Attorney Chiquita Hall-Jackson reached out to

      Attorney Matthew Piers to discuss potential substitution of counsel or collaboration

      regarding the shortfall group's promotion-related concerns. Attorney Piers, after

      consulting with co-lead class counsel Joshua Karsh, declined the request, stating:


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   "Absent direction from the court, we do not wish to comment further on your intended

   proceedings." See Exhibit G.

   ● Additionally, on July 6, 2022, another attorney declined to represent Patrick McCollum

         regarding similar concerns, noting the need to seek other legal representation

         immediately due to time constraints.

These communications clearly establish that original class counsel has effectively

abandoned representation of the shortfall group on these specific issues, creating a

situation where these class members' interests are not being adequately protected.

           This situation presents a scenario contemplated by Rule 23(g), where the Court may

need to appoint new counsel to protect the interests of class members when original

counsel is unwilling or unable to do so. The Seventh Circuit has recognized that class

counsel's responsibilities continue after judgment when ongoing implementation of

remedies is at issue but has also acknowledged that intervention or substitution of counsel

may be appropriate when the interests of a subset of the class require additional advocacy.

See Lewis v. City of Chicago, 702 F.3d 958 (7th Cir. 2012).


III.      PROPOSED CLASS COUNSEL SATISFIES THE REQUIREMENTS OF RULE
          23(g)

          Rule 23(g)(1) requires the Court to consider four primary factors when appointing

class counsel: (1) the work counsel has done in identifying or investigating potential claims;

(2) counsel's experience in handling class actions and complex litigation; (3) counsel's

knowledge of the applicable law; and (4) the resources counsel will commit to representing

the class. The proposed class counsel satisfies each of these requirements.

          A. Work Identifying and Investigating Claims



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      Undersigned counsels Hall-Jackson and Yeary have worked extensively with

members of the shortfall group since 2022 to identify and investigate their claims regarding

systematic disadvantages in promotional opportunities. This has included:

 1. Gathering and analyzing promotion data showing disparities between the shortfall

     group and other firefighters;

 2. Consulting with experts on the interpretation of promotion examination scores and

     seniority calculations;

 3. Reviewing the Court's prior orders, the injunctive order, and relevant collective

     bargaining agreements; and

 4. Interviewing numerous shortfall group members about their specific experiences.

      B. Incorporation of Statistical and Declaratory Evidence

      Preliminary authenticated promotion data from the Chicago Fire Department

demonstrates that only 14% of shortfall group members have been promoted to engineer,

compared to 83.54% of firefighters who entered the Academy in 1996. Analysis of

promotional examinations from 2016, 2019, and other years reveals that shortfall group

members scored significantly lower than comparable firefighters primarily due to limitations

on seniority points tied to time-in-grade requirements.

      Declarations from multiple shortfall group members detail specific instances where

the time-in-grade exception directly impacted their promotion opportunities, including:

 ● Rodney Shelton's declaration (Exhibit A) identifies several unforeseen circumstances,

     including:

      o Paramedics who became firefighters have been permitted to use their

          Paramedic seniority date for testing purposes, including those who were in the

          Academy with the Lewis class members.

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      o At the time of announcement for both the Engineer and Lieutenant exams, Lewis

          class members met the time-in-grade requirements based on their retroactive

          seniority dates.

      o In the Ernst v. City of Chicago, 837 F.3d 788 (2016) case, plaintiffs were awarded

          full seniority for everything including promotional exams.

      o The City and Local 2 failed to present the Affirmative Action policy (Appendix G)

          of the CBA during the original litigation.

 ● Patrick McCollum's declaration (Exhibit D) states that for the 2016 Fire Engineer

     promotion, his seniority points were limited to 16.9 out of 30, reducing his maximum

     cumulative score to 86.9 out of 100. His rank on the 2016 Fire Engineer Final Eligibility

     List was 261, but with full seniority points, his rank would have been within the top 30-

     a reduction of approximately 230 positions.

 ● Darrell Payne's declaration (Exhibit E) indicates that his seniority points were reduced

     by 13.1712 points from the maximum 30 points available for the 2016 Engineer exam,

     negatively affecting his final ranking by more than 250 positions. For the 2019

     Lieutenant exam, his seniority points were reduced by 1.895833 points, negatively

     affecting his ranking by approximately 36 positions.

      C. Addressing Court's Evidentiary Concerns

Counsel acknowledges the Court's concerns regarding evidentiary deficiencies in prior

motions and commits to developing a comprehensive evidentiary record through discovery,

expert analysis, and statistical modeling. This approach will ensure compliance with Rule

60(b)(5) requirements and provide a robust factual basis for seeking modification of the

Injunctive Order.

      D. Experience of Movant Counsels in Class Actions and Complex Litigation

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1. Attorney Chiquita Hall-Jackson

       Attorney Chiquita Hall-Jackson is admitted to practice before the U.S. District Court

for the Northern District of Illinois. Hall-Jackson's prior litigation experience does not include

certification of a class action lawsuit, but she has extensive experience in employment law

and Title VII litigation, representing multiple plaintiffs in cases involving the same subject

matter. Her experience, skills, and knowledge in these areas demonstrate the capacity to

effectively represent the proposed shortfall group in this proceeding.

       Hall-Jackson's background in litigating employment discrimination matters, coupled

with successful representation of multiple plaintiffs in similar legal disputes, ensures that

she can effectively advocate for the rights of the shortfall group. This includes serving as

lead counsel in more than 50 employment law matters before the U.S. District Court for the

Northern District of Illinois alone since 2014. Notable cases handled by Attorney Hall-

Jackson include:

 ● Ammons v. Chicago Board of Education, 16-CV-4884

 ● Ron Morris v. BNSF Railway, 15-CV-2923

 ● Jerry Gross v. People's Gas, 17-CV-3214

 ● Peak v. Local One Laborers, 19-CV-3351

 ● Hunter v. La-Co Industries, Inc., 15-CV-01710

 ● Green v. Aurora East School Board District #131, et. al., 15-CV-7495

       Hall-Jackson's understanding of Title VII and related employment law doctrines

equips her to navigate the legal and factual complexities of this case efficiently and

effectively. In addition to her legal background that deals with complex employment law

discrimination cases, she has sought experienced and skilled co-counsels to assist with



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this matter. This includes Attorneys Sheridan T. Yeary, Rodney Diggs, and Kevin Mahoney.

Diggs and Mahoney have class certification experience as outlined below.

       Ms. Hall-Jackson has never faced any disciplinary action for misconduct or an

ethical violation.


2. Attorney Kevin Mahoney

       Kevin Mahoney is the principal at Mahoney Law Group, APC in Long Beach,

California. The firm currently employs five (5) attorneys, and the practice is focused on

representing employees in state and federal wage and hour class actions and consumer

class actions.

       Mr. Mahoney received his Juris Doctorate from Howard University School of Law in

2002. He worked as an associate at Rose, Klein & Marias from 2005 until August of 2009.

Since 2007, Mahoney has been involved in class action litigation involving various wage

and hour violations. The class size of these cases has ranged between approximately 500

to over 15,000 putative class members with approved settlements in the millions of dollars.

       In August 2009, Mahoney co-founded Mahoney, Perry & Burrows (now the

Mahoney Law Group). The firm currently serves as lead counsel and/or co-lead counsel in

numerous wage and hour class action matters in Los Angeles Superior Court, Orange

County Superior Court, Riverside Superior Court, San Bernardino Superior Court, the

United States District Court for the Central District of California and the Southern District

of California, and the Supreme Court of The State of New York, County of Kings.

       Since 2009, the practice has focused on representing employees in state and

federal wage and hour class actions. Select cases where Mahoney has served as lead

and/or co-lead counsel include:


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U.S. District Court Cases:

 ● Romo v Durham School Service, L.P., U.S. District Court, Northern District of Illinois,

     Eastern Division, Case No. 1:17-cv-1929

 ● Perez v Directv Group Holdings, LLC, U.S. Districty Court Central Division of

     California, Case No. 8:16-CV-01440-JLS-DFM

 ● Valerie Brooks v. Life Care Centers of America, Inc., et al., U.S. District Court, Central

     District of California, Case No. 8:12-cv-00659-CJC-RNB

 ● Harvey Holt, et al. v. Parsec, Inc., et al., U.S. District Court, Central District of

     California Case No. CV-9540-VBF (PJWx)

 ● Kurt Casadine v. Maxim Healthcare Services, Inc., United States District Court,

     Central District of California Case No. CV 12-10078-DMG (CWx)

     California State Court Cases:

 ● Denise Mays v Children's Hospital of Los Angeles, Los Angeles Superior Court, Case

     No. BC477830

 ● Branch v PM Realty Group, LP, Los Angeles Superior Court, Case No. BC575759

 ● Curiel v Glendora Grand, Inc., Los Angeles Superior Court, Case No. BC618831

 ● Flores v Cambrian Homecare, Los Angeles Superior Court, Case No. BC544612

     [case certified]

 ● Kimya Oliver, et al. v. College Health Enterprise, et al., Los Angeles Superior Court

     Case No. BC406481

 ● Rick Wilcox, et al. v. Presbyterian Intercommunity Hospital, et al., Los Angeles

     Superior Court Case No. BC424796

 ● Raenan Guadez, et al. v. Sega Gameworks, LLC, San Bernardino Superior Court

     Case No.CIVRS 1105099

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       Mr. Mahoney has never faced any disciplinary action or received any sanction for

misconduct or an ethical violation.


3. Attorney Berkeh Alemzadeh

       Berkeh Alemzadeh received her Juris Doctorate from Chapman University Fowler

School of Law. She has worked as an associate at Mahoney Law Group, APC since 2018.

During her employment at Mahoney law Group, APC, Ms. Alemzadeh has been involved

in numerous wage and hour class actions.

U.S. District Court Cases:

   •   Bermejo v. Laboratory Corporation of America, dba LabCorp, United States District

       Court, Central District of California, Case No.: 2:20-cv-05337-DMG-SK

   •   Padilla v. Alta Dena Certified Dairy, LLC et al., United States District Court, Central

       District of California, Case No.: 2:19-cv-05020-MWF(RAOx)

   •   Riffel v. The Regents of the University of California, United States District Court,

       Northern District of California, Case No.: 5:19-cv-07489-EJD

   •   Riffel v. University of Southern California, United States District Court, Northern

       District of California, Case No.:5:19-cv-08466-EJD

   •   Robinson/Cockrill v. Independent Pet Partners Holdings, LLC, United States District


       Court, Central District of California, Case No.: 2:19−cv−10929−AB−SK


   California State Court Cases:

   •   Arciniega v. Protective Industries Inc. et al., Los Angeles Superior Court, Case No.:

       19STCV08558




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   •   Arteaga Reyes v. Dorel Gaboras dba Today’s Construction, Orange County

       Superior Court, Case No.: 30-2019-01049881-CU-OE-CXC;

   •   Hilario v. Marspring Corp. et al.; Los Angeles Superior Court, Case No.:

       19STCV26229

   •   Jimenez v. Tinco Sheet Metal Inc., Los Angeles Superior Court, Case No.:

       19STCV26229; Lozano v. Q-Flex, Inc., Orange County Superior Court, Case No.:

       30-2020-01140853-CU-OE-CXC

   •   Montejano v. Gul Food Management, Inc., San Francisco Superior Court, Case No.:

       CGC-19-577248

   •   Noble v. Affordable Animal Torrance, Inc. et al., Los Angeles Superior Court, Case

       No.: 19STCV10409

   •   Rivera v. Total Airport Services, LLC, Los Angeles Superior Court, Case No.:

       19STCV32847;

   •   Rosales v. IDT America, Corp. et al., Los Angeles Superior Court, Case No.:

       19STCV01581

   •   Zapata v. Shelter Clean Services, Inc. Los Angeles Superior Court, Case No.:

       19STCV09738.

       Ms. Alemzadeh has never faced any disciplinary action or received any sanction for

misconduct or an ethical violation.

4. Attorney Rodney S. Diggs

       Rodney S. Diggs received his Juris Doctorate from Howard University School of Law

in 2010. He worked as an associate at Ivie, McNeill & Wyatt in 2010 until he became a

partner in 2016 and then named partner in 2019 when the firm changed its name to Ivie

McNeill Wyatt Purcell & Diggs.
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       Since 2012, he has been involved in class action litigation involving various wage

and hour violations. The class size of these cases ranged anywhere between

approximately 100 to over 15,000 putative class members with approved settlements in

the millions. The firm currently serves as lead counsel and/or co-lead counsel in numerous

class action matters in California, a matter pending in Nevada, and one matter pending in

New York.

       Select examples of cases where Diggs has either served or currently serves as lead

and/or co-lead counsel include:

 ● Richard McCorkle, et al. v. American Textiles Maintenance, Co., Case No. BC495759

 ● Harold Taylor, et al. v. Warden Borders, et al., Case No. 5:18-cv-02488-TJH AGR

 ● Daniel Moyle, et al. v. United Parcel Services, Inc., et al., Case No. 20-1427

 ● Marvin Cutchins, et al. v. Liberty Media Corporation d/b/a Formula One Heineken

     Silver Las Vegas Grand Prix, et al., Case No. 2:23-cv-02124-GMN-NJK

     Mr. Diggs has never faced any disciplinary action or received any sanction for

misconduct or an ethical violation.

4. Attorney Sheridan "Todd" Yeary

       Mr. Yeary is admitted to practice before the U.S. District Court for the Northern

District of Illinois. Mr. Yeary earned his Juris Doctor degree from the University of Maryland

Carey School of Law in 2019. Mr. Yeary has litigated numerous employment discrimination

cases under Title VII of the Civil Rights Act of 1964 in federal district courts and state courts

in Maryland and Illinois, including claims involving disparate treatment, disparate impact,

wrongful termination, and systemic discrimination. These cases have required detailed

factual investigations, analyses of statistical disparities, and advocacy for equitable

remedies such as retroactive seniority and promotions. Mr. Yeary is well-versed in the

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procedural requirements of Title VII litigation, including EEOC administrative processes,

discovery management, motion practice, and trial preparation.

       Mr. Yeary has substantial experience managing multi-plaintiff actions where several

plaintiffs assert separate, but related claims arising from similar conduct by common or

affiliated defendants. These cases have involved allegations against insurance companies

or corporate entities engaged in systematic practices adversely impacting multiple

individuals. Unlike class actions, these multi-plaintiff suits require individualized advocacy

while leveraging common facts and evidence to achieve efficient resolution.

Select examples of employment related cases where Mr. Yeary has served as either

lead/co-lead counsel include:

 ● International Painters and Allied Trades Industry Pension Fund et al v. Statesville

     Painting and Maintenance LLC et al, 1:23-cv-02436 (U.S. District Court for the District

     of Maryland)

 ● Ross, et. al. v. Erie Insurance Exchange, et. al. 1:24-cv-02414 (U.S. District Court for

     the District of Maryland)

 ● Tapp-Harper v. Cogen, 1:24-cv-02498 (U.S. District Court for the District of Maryland)

 ● Whitaker v. Nohelty, et. al., 1:24-cv-08308 (U.S. District Court for the Northern District

     of Illinois)

       Additionally, Mr. Yeary possesses significant administrative expertise in Title VII

matters, which directly supports their ability to fairly and adequately represent the interests

of the shortfall group in this litigation. While Mr. Yeary does not have prior experience

serving as appointed class counsel or litigating class actions, his extensive background in

overseeing investigations and remedies for discrimination claims demonstrates

qualifications that align with the requirements of Rule 23(g).

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      Specifically, Mr. Yeary serves by mayoral appointment as the Chair of the

Community Relations Commission of Baltimore City, the city's oversight body tasked with

investigating and remedying claims of discrimination (previously known as the Equal

Employment Opportunity Commission of Baltimore City). Mr. Yeary has served as chair of

the commission since 2016. His role involves leadership over administrative investigations

into allegations brought by plaintiffs against private and public/municipal defendants,

including claims of employment discrimination under Title VII. The Commission's mandate

includes addressing systemic issues in employment, housing, health and welfare, and

education, providing counsel with substantial expertise in identifying patterns of

discrimination and implementing remedial measures.

      Mr. Yeary has never faced any disciplinary action or received any sanction for

misconduct or an ethical violation.

      E. Knowledge of Applicable Law

      Undersigned counsels have significant experience in employment discrimination

litigation, particularly cases involving Title VII and remedial consent decrees. Counsels

have thoroughly reviewed the extensive history of this case, including the Court's liability

findings, remedial orders, and the specific provisions of the injunctive order that are at

issue. Additionally, counsels are well-versed in Rule 60(b)(5) jurisprudence regarding the

modification of consent decrees, as would be required to properly present the shortfall

group's claims.

      F. Resources Committed to Representation

      The role of class counsel traditionally requires fulfilling the demanding procedural

and administrative requirements of class certification, such as establishing a system for

notice, maintaining a website, and managing a broad class. However, in this instance, the

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major administrative hurdles associated with class certification have already been

completed in the original class litigation. The proposed representation does not involve the

entirety of the prior class, but instead a smaller, discrete group-the shortfall plaintiffs who

were awarded positions as a result of the initial litigation. Given the limited scope of

representation, the intensive obligations typically associated with class action certification

do not apply at this stage of litigation.

       Undersigned counsels commit to dedicating the necessary time, personnel, and

financial resources to vigorously represent the shortfall group. These counsels have

successfully handled similar (and dissimilar) complex litigation and have the capability to

manage document collection, expert analysis, and all aspects of this litigation. Additionally,

undersigned counsel commits substantial resources to this representation:

 1. Financial Resources: Counsel has allocated a litigation budget to cover anticipated

     costs including expert witnesses, statistical analysis, document management, and

     court-related expenses.

 2. Personnel: A dedicated team of 4 attorneys and support staff will be assigned to this

     matter, with primary responsibility assigned to attorneys Hall-Jackson and Yeary.

 3. Technology: Counsel will utilize case management/document review platforms to

     efficiently manage discovery and evidence.

 4. Expert Resources: Counsel has already consulted with economists and data experts

     who are prepared to analyze promotion data and provide expert testimony regarding

     disparate impact.

 5. Class Communication: Counsel has established a secure communication protocol to

     maintain regular contact with all impacted shortfall group members, including email,

     regular mail, and other appropriate forms of communication.

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Movants’ proposed substitute counsels argue these resources are more than sufficient to

handle the focused and limited scope of this representation.




IV.    SCOPE OF PROPOSED REPRESENTATION

       Movants seek appointment of undersigned counsel as class counsel solely for the

limited purpose of representing the shortfall group (117 class members) in matters related

to promotion opportunities. This limited appointment would not disturb original class

counsel’s continuing representation of the broader class of over 6,000 African-American

applicants on other matters related to the injunctive order. This targeted approach is

appropriate because:

  1. The shortfall group has unique interests specifically related to promotion opportunities

      that are not shared by the broader class;

  2. Original class counsel has declined to pursue these specific claims, as evidenced by

      the March 4, 2019, email from Attorney Piers stating, “We are not in a position to

      provide you with assistance in this matter, and if you wish to pursue it, you should

      retain other counsel”; and

  3. The Court has recognized that Rule 23(g) allows for appointment of new counsel

      when a subset of class members requires additional advocacy.


V.     PRELIMINARY EVIDENCE OF PROMOTION DISPARITIES

       While full evidentiary development will require discovery, movants present the

following preliminary evidence demonstrating the disparate impact of the limitation of full

seniority points to the date of record in the Court’s injunctive Order, and its correlation to



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the City’s contention that the limitation was tied to a purported “safety consideration” tied

to time-in-grade:

  1. Authenticated promotion data from the Chicago Fire Department shows that only 14%

      of shortfall group members have been promoted to engineer, compared to 83.54% of

      firefighters who entered the Academy in 1996.

  2. Analysis of the 2016, 2020, and 2023 promotion examinations reveals that shortfall

      group members scored lower than comparable firefighters primarily due to the

      seniority component of the scoring system.

  3. Declarations from six (6) shortfall group members detailing instances where the time-

      in-grade exception directly impacted their promotion opportunities

If appointed, proposed class counsel will develop a comprehensive evidentiary record

through discovery, expert analysis, and statistical modeling to fully demonstrate how the

seniority   points   and    time-in-grade     exceptions/limitations   have   systematically

disadvantaged the shortfall group.


VI.    SEVENTH CIRCUIT PRECEDENT SUPPORTS APPOINTMENT OF COUNSEL
       FOR A SUBSET OF THE CLASS

       The Seventh Circuit has recognized scenarios where appointment of new class

counsel is appropriate to represent a subset of class members with distinct interests.

Several principles from Seventh Circuit jurisprudence support this motion.

       First, the Seventh Circuit emphasizes that Rule 23(a)(4)’s adequacy requirement is

designed “to uncover conflicts of interest between named parties and the class they seek

to represent.” Gomez v. St. Vincent Health, Inc., 649 F.3d 583, 592 (7th Cir. 2011). This

adequacy requirement extends to class counsel, who must “fairly and adequately represent

the interests of the class.” Fed. R. Civ. P. 23(g)(4).

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          Second, the Seventh Circuit has recognized that when the original class counsel is

unwilling to pursue legitimate claims of a subset of class members, those members’

interests are not being adequately protected. The appointment of new counsel may be

necessary to provide meaningful relief to class members. See In re Subway Footlong

Sandwich Marketing & Sales Practices Litig., 869 F.3d 551 (7th Cir. 2017).

          Third, while absent class members typically must move to intervene under Rule 24,

the Court also has discretion under Rule 23(g) to appoint new class counsel when the

circumstances warrant it. This is particularly true in cases involving long-term

implementation of remedial orders where original counsel has effectively withdrawn from

active representation. See Zbaraz v. Madigan, 572 F.3d 370, 376-78 (7th Cir. 2009).


VII.      APPOINTMENT OF NEW CLASS COUNSEL IS APPROPRIATE IN THIS CASE

          This case presents unique circumstances that justify appointment of new class

counsel for the shortfall group:

       a. The shortfall group members are not absent class members seeking to intervene

          after the case is closed; they are the direct beneficiaries of the injunctive order who

          were hired pursuant to the Court’s remedial decree.

       b. The shortfall group’s claims involve alleged unforeseen consequences of the

          injunctive order’s implementation that could not have been anticipated when the

          order was entered in 2011.

       c. Original class counsel has explicitly declined to pursue these claims, as evidenced

          by Attorney Piers’ March 4, 2019, email stating, “We are not in a position to provide

          you with assistance in this matter, and if you wish to pursue it, you should retain

          other counsel.”


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    d. The Court has expressly retained jurisdiction over the case for purposes of

        enforcement and modification of the injunctive order.

    e. The Court’s September 30, 2024, order specifically directed that an attorney wishing

        to represent the shortfall group should file a motion under Rule 23(g).

        In United States v. City of Chicago, 978 F.2d 325, 333 (7th Cir. 1992), the Seventh

Circuit explained that a consent decree modification “is appropriate where an unforeseen

obstacle warrants revision of the consent decree, and a proposed modification is necessary

in order for the decree to remedy adequately the constitutional or legal violation which it

was designed to remedy.” The shortfall group seeks precisely this relief – the opportunity

to demonstrate that unforeseen obstacles in the implementation of the injunctive order

have prevented it from fully remedying the Title VII violations found by this Court.


VIII.   CONCLUSION

        For the foregoing reasons, the members of the shortfall group respectfully request

that this Court grant their motion and appoint undersigned counsels as class counsel for

the limited purpose of seeking enforcement and modification of the Court’s injunctive order

with respect to promotion opportunities for the shortfall group.


Dated: May 15, 2025                                Respectfully submitted,

                                                   /s/ Chiquita Hall-Jackson
                                                   Chiquita Hall-Jackson, #6312976
                                                   Hall-Jackson & Associates P.C.
                                                   180 W. Washington St., Suite 820
                                                   Chicago, IL 60602
                                                   (312) 255-7105
                                                   chj@hall-jacksonandassociates.com

                                                    /s/ Sheridan T. Yeary
                                                   Sheridan T. Yeary, #201218001
                                                   The Yeary Firm, LLC

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                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 15th day of May 2025, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to all counsel of record who are registered CM/

ECF users.



                                                  /s/ Chiquita Hall-Jackson
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